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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

RESEA PROJECTS APS                               §
Plaintiff,                                       §
                                                 §
v.                                               §             CAUSE NO. 5:21-CV-1132-JKP
                                                 §
RESTORING INTEGRITY TO THE                       §
OCEANS, INC. AND KIERAN KELLY                    §
Defendant.                                       §


                         OPPOSED MOTION TO WITHDRAW AS
                                   COUNSEL


TO THE HONORABLE UNITED STATES JUDGE FOR THE WESTERN DISTRICT OF
TEXAS, SAN ANTONIO DIVISION:

       Movant Joseph Hoelscher moves for leave to withdraw as counsel for Defendant Restoring

Integrity to the Oceans, Inc. (“RIO”) and Defendant Kieran Kelly, and would show the Court as

follows:

                                                 I.

       1.      Defendant Kieran Kelly is also the CEO of Defendant Restoring Integrity to the

Oceans, Inc. Movant has appeared as co-counsel of record for both Defendants.

       2.      The current procedural posture of this case revolves around Plaintiff’s request for

temporary injunctive relief and expedited discovery regarding the requested relied. See Agreed

Order on Expedited Discovery, Dkt. #23. Discovery is closed. See id. However, the Court allowed

certain discovery actions to be taken after the close of discovery. See Order, Dckt. #45.

       3.      The current deadlines in this matter include the deadline for Defendants to file a

response to Plaintiff’s Emergency Motion to (A) Schedule Status Conference Regarding Spoliation

by Defendants and (B) Reset Plaintiff’s Discovery Deadlines. The response is due, per Court order,

Friday, April 29. Order, Dkt. #49. Plaintiff’s response to Defendants’ motion to compel, Dckt. #48,
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is also due April 29.

                                                 II.

       4.      “An attorney may withdraw from representation upon leave of court and a showing

of good cause and reasonable notice to the client.” In re Wynn, 889 F.2d 644, 646 (5th Cir. 1989).

An attorney may seek to withdraw if the representation has been rendered unreasonably difficult by

the client. TEX. R. DISCIPLINARY RULES PROF’L CONDUCT R. 1.15(b)(6). Further, “[a]n attorney

seeking to withdraw from a case must file a motion specifying the reasons for withdrawal and

providing the name and office address of the successor attorney.” W.D. TEX. LOC. R. AT-3. “If the

successor attorney is not known, the client must set forth the client’s name, address, and telephone

number, and must bear either the client’s signature or a detailed explanation why the client’s

signature could not be obtained after due diligence.” W.D. TEX. LOC. R. AT-3.

       5.      Withdrawal is necessary because the representation has been rendered

unreasonably difficult. As an example, after Movants informed Kelly of Plaintiff’s “spoliation”

motion and the Court’s order requiring a response, Kelly expressed that he wishes to address the

Court directly with respect to the motion and the topic of his emails and that he does not want

Movants to prepare a response to the motion. Thus, Movants are unable to prepare a substantive

response to Plaintiff’s motion as required by court order.

       6.      Movant Joseph Hoelscher has been told by Kelly to stop performing work and that

               Kelly refuses to work with him. Hoelscher has been removed from WhatsApp chats and

               other channels for communications. Kelly has not signed this Motion to Withdraw.

       7.      Withdrawal is justified based on Movant’s representation being rendered

unreasonably difficult. Further, withdrawal should not unduly delay the case nor prejudice

Defendants. No hearing has been set on the merits of Plaintiff’s requested temporary relief.
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Movant is filing a separate motion to extend the time for Defendants to respond to the motion

as well. Further, Plaintiff has already requested an expedited hearing, at which time the Court

may take up the issue of withdrawal and hear from Kelly directly.

       8.      Defendants’ counsel has conferred with Plaintiff’s counsel and Plaintiff’s

counsel has advised this motion is opposed.

       9.      Defendant Kieran Kelly’s phone numbers are 614-800-2165 and +62-813-1668-

1688. Movant is not aware of Kelly’s personal address, however, the Court may reasonably

expect to contact him through the mailing address of Defendant RIO as he is the CEO of RIO

and RIO is a defendant in this suit. That address is P.O. Box 700734, San Antonio, Texas 78270.

       10.     Defendant Restoring Integrity to the Oceans, Inc.’s phone numbers are 614-800-

2165 and +62-813-1668-1688. Defendant RIO’s physical address is 2195 Redwoods Crest, San

Antonio, Texas 78232. RIO’s mailing address is P.O. Box 700734, San Antonio, Texas 78270.

       11.     For the foregoing reasons, Movant pray that the Court grant his motion to

withdraw, discharge him as counsel of record for Defendants, and to any and all further relief to

which they may be justly entitled in law or equity.

                                                 Respectfully submitted,

                                                 /s/ Joseph Hoelscher
                                                 Joseph Hoelscher
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                                                 Counsel for Defendants
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                                    CERTIFICATE OF SERVICE
       I do hereby certify that the foregoing instrument was served on the following counsel
       this April 29, 2022, pursuant to Rule 5 of the Federal Rules of Civil Procedure, via the
       email and has been electronically filed through the CM/ECF Federal filing system:

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&

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Counsel for Plaintiffs



                                                  /s/ Joseph Hoelscher
                                                 Joseph Hoelscher
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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

 RESEA PROJECTS APS                       §
 Plaintiff,                               §
                                          §
                                          §      CAUSE NO. 5:21-CV-1132-JKP
                                          §
 RESTORING INTEGRITY TO THE               §
 OCEANS, INC. AND KIERAN KELLY            §
 Defendant.
                                        ORDER

       On                   , 2022, came on to be considered Joseph F. Hoelscher's Motion to

Withdraw as Counsel, and said motion is hereby

                                   (Granted)     (Denied)


                                          JUDGE PRESIDING
